   Case 8:14-po-08228-TMD Document 6 Filed 09/10/14 Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND



United States                           *
                                        *
        vs.                             *             Case No. 435-1968
                                                               435 1967
                                         *                     435 1966
Greg Harris
                                         *
                                      ******

                 ENTRY OF APPEARANCE AND CONTINUANCE


To the Clerk of Court and all parties of record. Malik Shabazz Esq. hereby enters his

appearance as counsel for Defendant in the above captioned case. I certify that I am

admitted to practice before this court. According to the Clerk, this status hearing has

been continued until October 8, 2014.



                                                           Date: September 10, 2014



                                                           Is/ Malik Z Shabazz/s/, Esq.
                                                           Co- Counsel for Plaintiff

           SEP    I   0 10ll                               Bar # 18558
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     Case 8:14-po-08228-TMD Document 6 Filed 09/10/14 Page 2 of 2




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        vs.                            *            Case No. 435-1968
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                                       *
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                            CERTIFICATE OF SERVICE

I hereby certify that on September 10, 2014 , a copy of counsel's Entry of Appearance
Will be electronically filed in this case on September 10, 2014.


                             /s/Malik Shabazz/s/
                             Co- Counsel for Plaintiff
